                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 In re Application of Daniel Snyder
 for an Order Directing Discovery
 from Mary Ellen Blair and                          Misc. Action No. 1:20-mc-00023
 Comstock Holding Companies, Inc.
 Pursuant to 28 U.S.C. § 1782


          MOTION FOR LIMITED INTERVENTION BY NORMAN CHIRITE

       Norman Chirite, by his undersigned counsel, pursuant to Federal Rule of Civil Procedure

24(a) and 24(b), for the reasons set forth in the attached memorandum in support, moves the Court

for an order granting leave to intervene in this matter for the limited purpose of moving to strike

immaterial, impertinent, or scandalous matter under Federal Rule of Civil Procedure 12(f) or, in

the alternative, to supplement the record.



Dated: August 26, 2020                       Respectfully submitted,


David A. Barrett (Pro Hac Vice pending)       SCHERTLER ONORATO MEAD & SEARS LLP
Steven I. Froot (Pro Hac Vice pending)
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                                             Attorneys for Norman Chirite




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2020, I caused a copy of the foregoing to be

electronically filed using the CM/ECF system, which will send notification to counsel of record of

such filing by operation of the Court’s electronic system. Parties may access this filing via the

Court’s electronic system.


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